      Case 9:20-md-02924-RLR Document 7361 Entered on FLSD Docket 10/25/2024 AP
                                                                             Page 1 of 9
LONNIF, LEE POSLOF JP.
CDCR# BE-0659
P.O. BOX 1050                                                                         Oct 8, 2024
SOLEDADt CA . 93960
(PRO-SEJ
                                                                                                MIAMI


                              THE UNITED STATES DISTRICT COURT
                              THE SOUTHER N DISTRICT OF FLORIDA

LONNIE LEE POSLOF JR. , CDCR# BE-0659, )                   rnd
PLAINTIFF,                      )      ) CASE NO . 9:20-~-02924-RLR
                                       )    "JUDICIAL NOTICE , FED.R. EVID. 301"
               vs .                    )   PIAINTIFF LONNIE LEE POSLOF JR.' S
IN RE ZANTAC PRODUCTS LIABILITY        ) MOTION FOR RECONSIDERATION OF DECISION At"ID
LITIGATION,                            ) MOTION FOR CERTIFICATION OF APPFAIABILI1Y
DEFENDANT(S).                          ) [28 U. S. C. §1291] [ FRCP RULES 60(b) , 60(d)]

-------------- ------ ) DAT!<':---------
                                                       TIME:
                                                       JUDGE :
                                                               --------
                                                               -------~
ID : 1HE ABOVE- ENTITLED HONORABLE COURT A.J\1D ALL PARTIES THERETD :

        PLEASE TAKE JUDICIAL NOTICE, that 1s soon as tnis notion                be heard in the above-
entitled Court , the Plaintiff, Lonnie L~e Poslof Jr ., cocq# BE-0659, pro:::.eeding as
Propria Persona , Sui Jutis , and respectfully noves this Hon')r'lble Couct on is instant Noti:::.e
and notion For Judicial Noti:.e , Reconsideration of De:.ision , and Certifi:.::;iti.on of Appealability ,
pursuant to 28 U. S. C. §1291 , and F'erleral. Rules of P.viden:.e Code 301.
        1. Final ju"lgment and/or de:.ision rule , "I      general , appeal may be taken only fr:cxi a

final judgment or o der -Jisposinis of all claims against all pacties , affl briefin-; foe leavio:;

not ino- foe t'l.e Distcict Court to do byut execute the judgment. 11

        2 . The Supre;ne C'.,ouct , or any other court of appellate judsdi,:.iton may affirn , modify ,

vacate , set asirle or reverse any JU<lgment decr"'0 or court order Lawfully brought Defore it
for review , and may remand t e cause and di. ect th2 entry of su-           appropriate judgment , decree ,

order , or require su,:.h further 'lrocee<li n-;s t o be had     , r:iy be JUSt un<ler t 1e circunstances .
        3 . T1e Southern Dis t ric.ty of Florida Court in case for IN RE ZA1'ITAC (RANOITIDINE)

PRODUCTS L     ILI1Y LITIGATION, f·Jo . 9 : 20-@V- 02924- RLR, is wr >11      vith mi s-applications of



                                                         1.
        Case 9:20-md-02924-RLR Document 7361 Entered on FLSD Docket 10/25/2024 Page 2 of 9

and abuse of discretion and "Clear Fr cor", and inviolate oft e 14th Amendment Due Process

  d has resul ted in .Manifest Injust ices prejudicial to Mr. Poslof with viuolation of the

Ibctrine of Stare Decisis .              See , Auto Equity Sales Inc., v . Superior Court(1962) 57 Cal. 2d

450; People v. Knoller (2017) 41 Cal . 4th 139 , 156; also see, Peopl e v. Downy , (2000) 82 Cal .
App.4t     899, 912 , "An abuse of discretion arises if the trial Court based it ' s decision on
         issi      e f ctors or on an erroneous legal s t andard ... "

         4.       r. Poslof        erein states that the Judgment Appeal dar e procured                   in error or
mi~-application             is com>l ·nt before the coprt , resul tinry i n a · 1 Misc-3.c iage            f Ju~tic ."
Ca.l.Const.        rt. VI ,       3 !~8, Code C'iv.Proc. 475, Pool v . City of Oakland(1986) 42                       . 3· 1051 ,
10 9.

                                                   J URI SDICTIO AL STATEMENTS
         T1is Gou t nas jurisdicion t o                  eqar this case pursuant to 23 U. S. C. §1651. "The

Su cem_ Cout·t nnd all Court              established by        ,.,t of Con::,r-2ss :nay issue all writ.?       ec2ssacy or

apocopriate in aid of their r es                  ctiv    jurisdi.citons     111d   a~r2eabL to tnc usases            d pci.ncip les
of law. " 28 U. S. C.         ~   1651. Venue L proper in t'le U. S. Couct               f A oeals for The lint           ir:::.uit

as t~e subJect Distri~ Court ( South2r n Distr ict of ~iorida) or t ha t M . Pos lof is a residnet
                                          ro- s~
of Califo 1ia             roceedin~ n~
                                                   ' sui J·•u:-is , · s w'thin t' e :'>Jint'1 Cir:.1it
              0

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judicia 1 syste.,1 .                               STATEMENT OF FACTS
         1.       1on0r    .)le •lag is tr-ate or Jud~       1)in L. Ro-e1':>er~ , of tn~ Sout 1ecn DistcL:t of Florida
nd oc e .,d tP C')TI')l; 1int t:o b- di.smis~ed due to                     2ing 11isconstu el as a

w1en i     fact it w s an actual co.nplain t,                 L .'1 is w y t 8t t 1-.ce ns t•. o foe nuns usee            S'.)   tat      1
t h~ O:>urt \vou l         file nis _o,nplaint , as eithe         a'l int r')l2adec or as i de e dent            :rnla i nt.
foe some      eason t'-ie JU k,::1 dis,1jssed his c. 7pl aint wi.thout all.o·vins 11i :n to                 eacd or       nve       i.s

oppor-tuni t y to see ( eel ief foe t e ca se'i dc1Jnages              1   :=i.rle hy t'le d Ee dant ' s )Coducts .     lso ,
t' e _lee':< nas 1.lso fail'=d to follo.-,            he instcu~ tions t1.at we.;:e i.1clu::l d ,vit'1L1 t1e filin~s ,

 ue to t           n5oin 6 issues \vit1 the staff 12re at Sa Lina                   Val by Stc:ite Prison are ;nakin; it

aLnost Lnpossihl ;e to li.ti· ate any acti on , ~y t1e ::.onstant de,i 1ls of rnat-erials                       nd ·10to::o i_s .
So , the _ler~ wo.s asked to file and ret rn nL complaint foe it w:1s t,e only copy 1e v id.
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Jurige ,obin L. Rosenb-2cs clearly e.croneously rleni cl 1--Jc . Po~lof ' s ::::..:r1plaint (?co Se Appli-ation)
 unde     23 U. S. C. §1' 2202 ans 2201 ,          '1.c. Poslof is a ~tv'1te Drisone.c of t 1e State of Califo.cnia
 De artment of CDr.cections and Pe'.1abilit'.:ltion~ , 'lnd ,as no ,,vay to research the status of any

 ca~e to date , only if it· 3S been a                ealeri , throu~        LPXIS~rxrs . And , ,iue to t~a n'1 ture of his

 :::.lai sand     <?::::.eeding as pro"'.)ria   _rsona , sui juris , or oro "13C vi::::.e , he must be ;ivel1 t 1e
 o      • tunity to co    e_t any defincies and/or erro.c. in his pleadinss , under .ule 15 of t~e

 Federal Rules of Civil Procedure . Imoortantly , th.e 'o                      rable Jud::;e Robin L. . osenber,., .:.l,2arly
 • d un2quivo:.a l y fou d tnat 'tr . Pos Lo'f           ad fulfilled or faile1 to ·ueet tne             2quire:11ents of
 Pretrial Orders m...'J.de in t1e MDL of t'1is a..,tion , 11ov12ver,1 , tne fa:::.t L, that •, . Poslof was not

 a.;race of th~ PIO 84 , and        e is now so , but thece must be so:ne latitude ~iven t, e fact ne is
• witnout rei112dy , l:>y t1e denial of his comolaint , when t e Court has tn~ autho.city to allow

 any party to amend or- sup 1 nent t'1-ir pleadin'.;s ;

           2 . ft2r su mittin~ the co:n laint ~y 1r . Poslof , the.court i ,nnedi.'.ltely dis,nisse-:l 1is

 -0 7,)Lnint witnout even a 1earirn~ ,             r even ~iven instructions to cor e_t t,              er ocs if any . It

 makes no sense to not allow a plaintiff an OQportunity to ar:iend 1.is :::.o.-nplaint prior to , ki g
 a rulin?; t"IBt 'ldver ew or acri st the aoplyins '.)arty .                  1-!owever , tne United States Supreme
                                                                        I

 CDu.ct developed t 1       "Constitutional H'act Ib:::.trine" ("ci:.n 11 ) rlurin~ the first centry and it

 repre:sents a si~nif •:.ant depa ture from t~e usual pr:1cti:::.e . Unrler t'l.at rlo:::.trine , ao~ellate.
 coucts , ay exer::.ise cie      ovo r2viev1 of ' factual issues ' .-1'1~n t,1_y a.c           vital to tne rlisposition
 of c.ns2s involvino co1stitutiona.l ci~nts . &>se Corp . v . Consurners Union of t e U. S. inc , 45

 U. S. 1~8 , 505 (1 984) ( 10Ldi ·g tn t t;:i.e Cou t .nust a oly inde ende,1t revie·,.;r in deter, inin,
 l'12t'1er t:-\_ cvirlenc.c in a d fr~.n:ition          SE satisfies t'12 "actual malice" sta             ard .. ); diamber
                                                                                                                      ,
 v . Florida, 309 J. S. 2'>7, 22;, - 2 "'(lt)40) . T1~ do:.t.cine is of pqrt i.:.ulac interest                    _ause it

 im Li:::.:1tes bot. t1e p ote:::.tion of co,1stitutional .ci~hts ·:mri the allo::::.ation for po,Je
 ciiffe ent jurii:::.ial d<2:.isi:m i n ,."'rs .



             classes of rio11ts t 1an ot 1ers . Indeed , conte:ioora y constitutional jucispruden__ e i s
     \\.'.e ly 1iea.cc i:::.al , in tne sense t 11at a riunh2     of vital do::::.tdnes tr2at ri~hts differ2nt ly


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based on the relative importance assigned to various categories of rights clarirns .      To
_underscore the problemactic nature of the Court's failure to justify the CFO, let us now
engage in a brief counterfactual thought . Suppose that in early opinions dev.eloping the striict
scrutiny test, the Court indicated that it would apply strict scrutiny review in all
const itutional rights cases . However , in this imagined scenario the Court begaqns applying the
strict scrutiny test selectively only in a subset of constitutional casaes, while offering
virtually no explaination of this differential treatment . Presumbly, such a situation would
have generated a great deal of controversy and many observers--quite rightly--would have
deemed it intolerable . See , The Wandering Doctri n of Cons-titutoinal Law Fact, 59 Ar iz . L. Rev .
289 (2017) .... As here , the Court rules in the faqor of the defendant wihtout procuring the
defendant to respond to the complaint filed against them by Mr . Poslof . No knowing the or iginal
class-actions hewing dismissed or summary of judgment in their favor , does not apply her e , dut
to the fact the complaint was also filed afterwards, and if it were incorrectly pleaded then
'ti'tm'I t he Court shall instruct the PRO SE litigate to ai-nend , correct, or supplement those

pleadings so that he may present his case for review in the proper jurisdicion , if Mr . poslof
would have.known that the class was dismissed he would .have fil . ed in the Northern District
of California , and not in the Southern District of Florida . Ansd the Court had the discret ion
and/or duty to protect all parties best interestds by transferring Mr . Poslof ' s complaint to
the appropriate jurisdiciton. Not just outrig t deny irn of his due process to a hearing
and to present hfs evidence t o support his claims .
      4. The practi~e of Courts subjecting certain issues of fac t t o a height ened form of
review dates at least to the seventeenth century in English Corrmon Law. Hampton, Supra,
note 15, at 378 ; William C./ Whitford , The Role of the Jury (and the Fact/law distinction)
                                                               ..     .
2001 Wisc . L. Rev. 931, 932-33(20011 Rooted concerns a ut containing the reach of royal
authority , judges reviewed executive actions , to ilM t!ts assess whether they rtested on a
proper jurisdictional basis . , Id .
      5. As here , the defendant's violating Mr . Poslof's constitutional rights in so many
ways , buyt for starters , for their failures to warn their consumers of the risks of their
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poroducts containg the carcinogeniss and the related problems when taken . Again , the issue
is not whether the defendant ' s violating Mr . Poslof's constitutional rights, th also broke
the law, such as California Safe Drinking Water Enforcement Act of 1996, under California
Health & Safety Code§§ 25249.5 , 25249.6 , and owes Mr. Poslof for civil penalties under the
section 25249 . 7(b) , along with punitive damages and other injuries caused by their products .
Mr . Poslof was under the impression that he was required to fiilie first in the original
jurisdiciotn of this Court , and therefore he subnitted an actuial complaint not a motion .
The Honoraboe Judge Robin L. Rosenberg oft e Southern District of Florida Federal Court , had

misconstrued his complaint as a motion, and without procuring his defendant ' s response to his
complaint. And ultimately denial of Mr . Poslof ' s constitutmonal rights to D.le Process of
Law and his rioht to hear and be heard in this matter . Regardless , of the original prcoeedings
being dismissed or "surrmary of Judgment" they were not produced to Mr . Poslf and his sutmitted
complaint , the defendant ' s must answer to his complaint fil d and given a hearing for all
evidence and testimony to be presented to this Court .
      6. Mr . Poslof asks that M the Court please reconsider it ' s decision and/or permit him
to appeal to the Court of Appeals in the Ninth Circuit for determinations of his violated
constitutional rights and ultimately remand t ·s action back to this court for hearing .
The U. S. Supreme Court stated that due process mandates that he or she is entitled to adequate
Notice , a Hearing and a neutral judge. Mr. Poslof as been denioed and deprived these most
fundamen t al rights that are subj ect to review , the rights that are "implici t i n the concept
of ordered liberty . " Palko v . Connectcuit , 302 U. S. 319(1937); Mathews v. Eldridge, 424 U. S.
319 , 335(1976) , an individual ' s rights to some kind of hearing (Th Right To Support His
Allegations By Arguments However Brief and If Need be By Proof However Informal ... ) See ,
Baldwin v . Missouri , 281 U. S. 586 , 595(1930)
                     • ~ ~ interests µ.-ote:.ta:i ~ t:re d.e p:oc.ess c.1ruse are mtitle:l to, 'sore
                     kL'"rl f mi.rg . .. that asse3S1B1t is to~ rra::E rot.h cxrcret.ely, arl in a h>listic
                     marrer. It is mt a rratter of ~ this or th:it p:lrtkular el.atait of ~
                     rmtrix in i.9'.)latirn, b.lt f assessirg t:re s.rl.tibility of tre Efl'38Tble in a:ntext •• "
      7. Also the Supreme Court has ruled and has a firmed the principle that "justice must
satisfy the appearance of justice ... See , Levine v. United States , 362 U.S. 610(1960}; Taylor

                                                         5.
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v. O'Grady , 888 F. 2d 1189(7th Cir . 1989)
      8. Judge Robin L. Rosenberg does not have the discretion not to disqualify herself . By
law , she is oound to follow the law. Soul~ a judge not disqualify herself as required by law,
then the judge has given anot er example of her "appearnance of partiality" which possibly
further disqualifies this judge . Judge Robin L. Rosenberg s all disqualify herself freom Mr .
Poslof ' s case for she has non-partiality t o the merits of his complaint , and has violated his
constitutonal due process ri hts . Yes , the complaint was defective on its face , but not i n
the body ufrl'rat of the complaint . ]).Je Process Clause of The U. S. Constitution , United States
v. Scuto , 521 F. 2d 842 , 845(7th Cir . 1996)("the right to a tribunal fr e from bias or
prejudice is based , not on section 144 , but om the Due Process Clause") Judge Robin L.
Rosenberg ordered the di smissal of Mr . Poslof ' s complaint as "Request For Intervention in
The Class Action" See , Document Nu11ber 7345 dated 9/20/2024 .
      9 . The Supreme Court sugtgested In Stump that a clear lack of subject mat ter
jurisdiciton wi l l subject a judge to liability . Judge Rosenberg has taken actions that
prevent appeal , and doi ng such has impaired Mr . Poslof's due process of law. when he not
afforded the ability to amend the pleadings to correct the cover page to reflect as "CDMPl.AINT
FOR DECIARA'IDRY RELIEF    D JURY TRIAL" pursuant to 28 U. S. C. §§ 2202 , and 2201 , is denying him
his right to appeal and to receive remedy for his damahges caused byu the defendant ' s . If the
fact remains if Mr .Poslof is unable to joint e class then he wants to proceed with his
i ndividual claims and arguments.   Judge Rosenberg i s subject to the same due process
requirements and is prohi bited from br eaking the l aw , and cause unj us t injury to peopl e under
her jurisdiciton. Harlow v. Fitzgerald , 457 U. S. 800(1982) The dismissal ' s of Mr . Poslof ' s and
others like Garre son v. Boehringer Ingelheim, 9:24-CV-80909, without adjudicating on the
merits oft e caase , "would have potentially have far-reaching consequences" such as denial
of the right to a fair jury trial and due process of law.
      10 , TIIEREFORE, this Court must void Judge Rosenberg ' s Orders and Judgments of 9/20/2024
Pursuant to FRCP Rule 60(b) , 60(d) where compelling circumstances exist , as well as Judge
Rosenberg s Orders and Judgments made in IN RE .ZANT C (RANITIDINE) PRODUCTS LIABILITY
LITIGATION , 9:20-MD-02924 RLR {\,\_~ ll\ ())('({)('.

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                                           VERIFICATION


        I, Lonnie Lee Poslof Jr ., CDCR# BE-0659, declare the I have read each and every
statement above and herein, and they are to my accepted and approved thereof, I declare
under the penalty of perjury under the Laws of Both States of California and Florida , that
the aforementioned above is true and accurate to the best of my knowledge .
        Executed on tis 1st day of October, 2024, int e County of Monteerey , California .




Ill
I/Ill
                                   PROOF OF SERVICE BY PRISONER

        I DECLARE 'IR.\T I AM OVER IBE AGE OF (18) YFARS, AND I AM A COMPETENT PERSON AND HEREBY
DECLARE TIIAT I ENCLOSED THE FOLLOWING OOCUMENTS:
        1. NOTICE OF APPFAL AND 2. JUDICIAL NITTICE AND MarION FOR RECONSIDERATION
        I ENCLOSED IBEM INTO A FULLY PREPAID ENVEIDPE ADDRESSED TO 1HE SOUTIIERN DISTRICT
OF FLORIDA COURT: 400 NOR'IB MI 11 AVENUE, MIAMI, FLORIDA, 33128-7716, INTO 1HE PRISON ' S
INSfITUTOINAL Mb.IL BOX ON IBIS 1ST DAY OF OCTOBER, 2024.
        I DECIARE UNDER IHE PENAL1Y OF PERJURY UNDER TilE IAWS OF THE ST TES OF CALIFORNIA
AND FLORIDA, 'IlIAT IBE FORF.COING IS TRUE AND CORRECT.




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